                                                                                          Case 2:14-cv-04077-PA-AJW Document 117 Filed 02/12/16 Page 1 of 2 Page ID #:7020



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                                                                                             7   Attorneys for Plaintiffs
                                                                                                 BILL A. BUSBICE, JR., OLLA PRODUCTIONS,
                                                                                             8   LLC, and ECIBSUB, LLC
                                                                                             9                          UNITED STATES DISTRICT COURT
                                                                                            10                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                            11                                  WESTERN DIVISION
T ROUTMAN S ANDERS LLP




                                                                                            12   BILL A. BUSBICE, JR., an individual;         Case No. CV 14-4077 PA (AJWx)
                                                           I R V I N E , C A 92614-2545




                                                                                                 OLLA PRODUCTIONS, LLC, a limited             consolidated with CV 14-7063 PA
                         5 PAR K PLA ZA




                                                                                                 liability company; and ECIBSUB, LLC,         (AJWx)
                                          S U I T E 1400




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                                                                                                 a limited liability company,
                                                                                            14                                                Hon. Percy Anderson
                                                                                                                  Plaintiffs,
                                                                                            15                                                JUDGMENT AGAINST
                                                                                                         v.                                   DEFENDANTS JAMES DAVID
                                                                                            16                                                WILLIAMS AND STEVEN J.
                                                                                                 JAMES DAVID WILLIAMS, an                     BROWN
                                                                                            17   individual; et al.,
                                                                                            18                    Defendants.
                                                                                            19
                                                                                                 AND RELATED CONSOLIDATED
                                                                                            20   ACTION.
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                                                                                                          [JUDGMENT AGAINST JAMES DAVID WILLIAMS AND STEVEN J. BROWN
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                                                                                             1           Pursuant to the Stipulation for Judgment and Entry of Judgment between
                                                                                             2   Plaintiffs Bill A. Busbice, Jr., Ollawood Productions, LLC, formerly known as Olla
                                                                                             3   Productions, LLC, and Ecibsub, LLC (collectively, “Plaintiffs”), and Defendant
                                                                                             4   James David Williams (“Williams”) and Steven J. Brown (“Brown”), and based
                                                                                             5   upon Plaintiffs’ application for entry of stipulated judgment and the parties’
                                                                                             6   settlement agreement, the Court finds good cause exists to enter the following
                                                                                             7   judgment in favor of Plaintiffs, and against Williams and Brown.
                                                                                             8           THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that
                                                                                             9   Plaintiffs are granted judgment:
                                                                                            10                 against Defendant James David Williams in the amount of
                                                                                            11                   $6,950,000.00; and
T ROUTMAN S ANDERS LLP




                                                                                            12                 against Defendant Steven J. Brown in the amount of $3,450,000.00.
                                                           I R V I N E , C A 92614-2545
                         5 PAR K PLA ZA
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                                                                                            14           IT IS SO ORDERED.
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                                                                                            16   DATED: February 12, 2016
                                                                                                                                      PERCY ANDERSON\
                                                                                            17                                        United States District Court Judge
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                                                                                                          JUDGMENT AGAINST JAMES DAVID WILLIAMS AND STEVEN J. BROWN
